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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA ' 5 :
FORT MYERS DIVISION QUOC 19 PH 2+ 08
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JIMMY LEE KROFT,
Plaintiff,

Vv. Case No. 2:20-cv-396-JLB-NPM

JEFFREY ROBINSON,

VINCENT NORIEGA,

STEPHEN GAHRMANN,

FNU HARDEN,

RAYMOND WALTON, and

NURSE WILSON,

Defendants.
/

DEPARTMENT OF CORRECTIONS’ NOTICE TO COURT
REGARDING SERVICE OF PROCESS FOR DEFENDANTS!

The court’s order dated November 12, 2021 (Doc. 79), directs the Department of
Corrections within 30 days of the order, to provide a last known address for Defendant
Wilson. The Department advises the Court that it is unable to provide a last known
address for Defendant Wilson. Defendant Wilson is/was employed by the contracted
medical provider. The Department is not the records custodian of, nor has access to,
employment records for employees of the contracted medical provider. Thus, it is unable

to provide a last known address.

 

' The Department is filing this notice to respond to the court’s order. The Department, by filing this notice,
is not filing a notice of appearance on behalf of any Defendant.
